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           17             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S SUPPLEMENTAL TRIAL
                    a Delaware corporation,                       MEMORANDUM REGARDING
           21                                                     PLAINTIFFS’ DISCLOSURES OF
                                       Plaintiffs,                THEIR ATTORNEY-CLIENT
           22                                                     COMMUNICATIONS
                          v.
           23       APPLE INC.,
           24       a California corporation,
                                                                  Trial: Apr. 4, 2023
           25                          Defendant.

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                         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1                                         INTRODUCTION
             2             During the first several days of trial, Plaintiffs have repeatedly put at issue
             3      undisclosed attorney-client communications that are highly relevant to the claims and
             4      defenses before the jury, and they have wrongly suggested that fact witnesses cannot
             5      specifically testify about the alleged trade secrets because they were drafted by lawyers.
             6      Plaintiffs have selectively waived privilege over the communications to aid their case
             7      while asserting privilege over other facts and circumstances surrounding those
             8      communications. Plaintiffs have also misleadingly suggested to the jury that they can
             9      prove their claim by vaguely averring to the undisclosed work of lawyers. These tactics
           10       are improper. While there likely are greater consequences, at this stage, these actions
           11       trigger subject-matter waivers of privilege, they open the door to Apple presenting its
           12       theory of the case that the alleged trade secrets were fabricated during and for this
           13       litigation, and they require curative instructions about the actual role of lawyers in a case
           14       like this.
           15              Plaintiffs’ selective waivers and misleading arguments relate to two sets of issues,
           16       each of which presents its own problems:
           17              Creation and meaning of the alleged trade secrets:            Plaintiffs’ first three
           18       witnesses (Messrs. Kiani, Diab, and Poeze) continually claimed not to understand what
           19       the alleged trade secrets mean—repeating the refrain that explaining the scope and
           20       meaning of the alleged trade secrets is a matter for the Plaintiffs’ lawyers. Plaintiffs’
           21       CEO Joseph Kiani, testified that Plaintiffs’ counsel drafted the alleged trade secrets, and
           22       he selectively revealed his communications that led Plaintiffs’ counsel to draft the
           23       descriptions of the purported secrets that are the basis for the misappropriation
           24       allegations at trial. Remarkably, Mr. Kiani even suggested he might have worded the
           25       descriptions differently to match his ideas about Plaintiffs’ business strategies,
           26       effectively inviting the jury to disregard the actual language set forth in Plaintiffs’
           27       2019.210 statement and instead apply the scope purportedly in his mind. Messrs. Diab
           28
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             1      and Poeze simply demurred when asked about the alleged trade secrets, treating the topic
             2      as something they were not competent to discuss. Mr. Diab’s testimony, as discussed
             3      below, is flatly inconsistent with a sworn declaration he earlier submitted to the Court.
             4            During Plaintiffs’ opening statement, their lead counsel also asserted that
             5      Plaintiffs’ lawyers wrote the language for the alleged trade secrets that appear in the
             6      juror notebooks—even though Plaintiffs had requested and won a pretrial order
             7      precluding Apple from referring to the lawyers’ role in drafting the alleged trade secrets.
             8      And notwithstanding his own opening statement, Plaintiffs’ lead counsel proceeded to
             9      falsely and repeatedly accuse Apple of violating that same order during Apple’s cross
           10       examination of Mr. Kiani.
           11             Plaintiffs’ blatant attempts to engage in sword-and-shield gamesmanship trigger
           12       privilege waiver. But another, more fundamental problem has emerged: Plaintiffs have
           13       not even tried to connect their factual evidence to the alleged trade secrets, relying on
           14       the false premise that Plaintiffs need not do so because the scope and meaning of those
           15       alleged trade secrets is solely a matter for lawyers. Again and again, Plaintiffs’ witnesses
           16       have suggested exactly that to the jury.
           17             That suggestion is simply false.         While the decision to maintain certain
           18       information as a trade secret—or, alternatively, to file a patent on it—is often handled
           19       by a corporate legal department, the factual meaning of any particular trade secret is
           20       a matter for fact witnesses. Absolutely nothing prevents an engineer, for example, from
           21       testifying about the meaning of a technical trade secret in that engineer’s field. And
           22       certainly nothing prevents an engineer who supposedly participated in the development
           23       of an alleged trade secret from testifying about what it means. It makes no sense that
           24       an engineer who supposedly possessed the trade secret is unable to understand or explain
           25       it. Through their witnesses’ repeated deferrals to lawyers, Plaintiffs have not just
           26       exploited privilege as both a sword and a shield—because the witnesses are testifying
           27       about communications with lawyers that have never been produced to Apple—but
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             1      Plaintiffs have also misleadingly suggested to the jury that only lawyers can truly
             2      understand the alleged trade secrets.1
             3               Statute of Limitations:       Mr. Kiani also testified about the content of
             4      communications with Plaintiffs’ trial team upon learning about certain Apple patents,
             5      and Plaintiffs’ opening statement asserted that it was those communications with counsel
             6      that triggered the statute of limitations period under the discovery rule of Cal. Civ. Code
             7      § 3426.6. Specifically, Mr. Kiani testified that his lawyers apprised him in October 2019
             8      of certain Apple patent filings and those patents’ potential relationship to alleged
             9      Masimo and/or Cercacor trade secrets—and that these communications led him to
           10       authorize filing this lawsuit. Yet, throughout discovery, Plaintiffs asserted privilege over
           11       those same communications and have never produced them to Apple.
           12                                                    ***
           13                The bottom line is that Plaintiffs have been trying this case based on references to
           14       never-disclosed communications with counsel and the false premise that the scope and
           15       meaning of the alleged trade secrets is solely the province of lawyers. As a remedy,
           16       Apple respectfully requests:
           17                1.    An order requiring Plaintiffs to immediately produce documents related to
           18       their alleged reasons for delay, including pre-lawsuit communications about Apple,
           19       Messrs. Lamego and O’Reilly, and their 2019 communications with counsel about the
           20       Apple patents that supposedly put them on notice of the alleged misappropriation.
           21                2.    Permission to present evidence and argument, currently precluded by the
           22       Court’s motions in limine order, concerning the role of Plaintiffs’ counsel in drafting the
           23       alleged trade secrets.
           24
           25
                    1
           26        Although it is not yet time for Rule 50 motions, Plaintiffs’ approach is resulting in a
                    profound failure of proof—Plaintiffs’ witnesses have punted on even trying to offer
           27       sufficient factual evidence for multiple issues on which Plaintiffs bear the burden of
                    proof.
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             1               3.    A curative instruction to mitigate prejudice arising from Plaintiffs’ repeated
             2      suggestions that the alleged trade secrets are technicalities for the lawyers and not a
             3      proper subject for fact witness testimony.
             4                                           BACKGROUND
             5               A.    Plaintiffs Successfully Move In Limine To Exclude Reference To
             6                     Their Attorneys’ Involvement In This Case
             7               Before the trial, Plaintiffs moved in limine “to exclude evidence or argument
             8      about [their] attorneys’ involvement in this case, including preparing trade secret
             9      disclosures and interrogatory responses.” Dkt. 1297-2 at 1. Plaintiffs argued that “the
           10       process for how attorneys … describ[ed] the trade secrets to define the scope” of their
           11       misappropriation claim was not relevant and that “the jury could easily be misled or
           12       confused” if “Apple were allowed to argue that Masimo’s attorneys created the trade
           13       secret disclosure.” Id. at 3. The Court granted this aspect of Plaintiffs’ motion in limine
           14       and precluded Apple from, e.g., “argu[ing] that Plaintiffs’ attorneys copied the patent.”
           15       Dkt. 1439 at 10.2 However, the Court permitted “Apple [to] argue [that] the [‘754]
           16       patent discloses the identified trade secrets and that the patent predates any evidence of
           17       creation or possession of the trade secrets” in support of “Apple’s position that the trade
           18       secrets identified in the disclosure were copied from the patent.” Id.
           19                B.    Plaintiffs Put Their Attorneys’ Involvement At Issue On The Second
           20                      Day Of Trial, But Block Apple From Asking Questions Permitted
           21                      Under The Motion In Limine
           22                Notwithstanding that Plaintiffs requested and received an order precluding
           23       reference to the role of attorneys in defining the alleged trade secrets, Plaintiffs’ counsel
           24       put the attorneys’ role at issue almost immediately.          During opening statements,
           25       Plaintiffs’ lead counsel represented that the lawyers wrote out the language for Plaintiffs’
           26
           27       2
                        Emphasis added unless otherwise noted.
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             1   alleged trade secrets that appear in the juror notebooks—presumably to suggest their
             2   reliability:
             3            And this information is both business in nature, it’s about marketing.
                          Those are in your notebook. They’re written out. The lawyers actually
             4            wrote it out to capture the type of information we’re talking about. And
             5            it’s technical information as well.
                 Apr. 5, 2023 AM Tr. 50:7-11. Thus, Plaintiffs’ lead counsel almost immediately did
             6
                 precisely what Plaintiffs moved in limine to preclude Apple from doing.
             7
                       Plaintiffs’ first witness, Plaintiffs’ CEO Joseph Kiani, then further put
             8
                 communications with counsel at issue while presenting evidence proffered as relevant
             9
                 to the “statute of limitation defense.” Apr. 5, 2023 PM Tr. 50:1-2. On direct, Plaintiffs’
           10
                 counsel asked a line of questioning calculated to elicit testimony regarding when Mr.
           11
                 Kiani purportedly first learned facts that led him to suspect that Apple had
           12
                 misappropriated Plaintiffs’ alleged trade secrets. Mr. Kiani answered that “[i]n 2019, a
           13
                 series of patents issued to Apple with Dr. [Marcelo] Lamego as the inventor, and it was
           14
                 our stuff, things that was in our notebooks done by [Plaintiffs’ employees].” The
           15
                 questioning proceeded:
           16
                         Q:    And after you saw those patents that you just mentioned, what did
           17                  you do next?
           18            A:    I asked Steve Jensen at Knobbe to investigate and if he found we
                               had any right to sue Apple.
           19            Q:    And Steve Jensen right here, my partner?
           20            A:    Yes.
                         Q:    Okay. And what happened next, after you had authorized this
           21                  investigation?
           22            A:    We sued Apple.

           23    Id. at 50:17-51:13. This testimony followed a line of questioning intended to establish

           24    that Mr. Kiani previously trusted Dr. Michael O’Reilly and Dr. Marcelo Lamego. See

           25    id. at 38-41, 48-50. In that context, Mr. Kiani was plainly asserting that he, and by

           26    extension Plaintiffs, had no reason to suspect that they had a viable claim against Apple

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             1   for misappropriation of trade secrets until he asked his counsel to investigate the Apple
             2   patents and counsel advised that there were grounds to file this suit.
             3         Later, during Apple’s cross examination of Mr. Kiani, Plaintiffs’ counsel
             4   repeatedly interposed “MIL objection[s]” to questions by Apple’s counsel that were
             5   safely within the scope of the Court’s ruling that “Apple may cross-examine witnesses
             6   regarding … [the fact] that the patent predates any evidence of creation or possession of
             7   the [alleged] trade secrets.” Dkt. 1439 at 10. For instance, Plaintiffs’ counsel objected
             8   to the following cross-examination questions:
             9           Q:     This list of alleged trade secrets that the jury has at tab 1 in their
           10                   notebook, that list did not exist before this case; correct?
           11            …
           12            Q:     [I]n terms of the actual language that the jury has … you were not
           13                   shown any document that has that same language and was created
           14                   before this lawsuit was filed; true?
           15    Apr. 5, 2023 PM Tr. 105:2-19.
           16          Apple’s counsel later explained, outside the jury’s presence, that these questions
           17    were permissible under the motion in limine because they sought only to establish “the
           18    chronology of what existed and what didn’t.” Id. at 112, 104-105. The Court agreed,
           19    describing as “accurate” defense counsel’s statement that he was “faithful to” the Court’s
           20    motion in limine order. Id. at 112:12-20.
           21          Yet, the very next morning, Plaintiffs’ lead counsel accused Apple’s counsel of
           22    suggesting “the opposite of truth” in this examination. Apr. 6, 2023 AM Tr. 6:17. This
           23    up-means-down argument was yet another attempt to prevent questions on a topic that
           24    the Court had ruled was a fair subject for cross examination—and yet another instance
           25    of Plaintiffs tactically using their counsel as a sword (in their opening) and a shield (on
           26    Apple’s cross examinations).
           27
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             1         C.     Plaintiffs Again Put Their Attorneys’ Involvement At Issue On The
             2                Third Day Of Trial, And Again Attempted To Block Apple From
             3                Asking Questions Permitted Under The Motion In Limine
             4         Throughout the morning of the third trial day, Mr. Kiani and Plaintiffs’ counsel
             5   continued to rely on communications with counsel as the basis for their positions on
             6   (1) the scope of alleged trade secrets and (2) when Plaintiffs discovered the alleged
             7   misappropriation. At the same time, Plaintiffs selectively asserted privilege to block
             8   Apple’s counsel from inquiring about the factual bases for Plaintiffs’ position.
             9         For example,
           10
           11
           12
           13                           Apr. 6, 2023 AM Tr. at 35:20-36:3; see also id. at 55:13
           14                                                .
           15          Plaintiffs’ counsel also attempted to use attorney-client privilege as both a sword
           16    and a shield during their questioning. For instance, when Apple’s counsel challenged
           17    Mr. Kiani to explain
           18          in B2, Mr. Kiani again invoked and relied on his attorneys. He stated,
           19
           20                                   Id. at 54:7-56:1. At this, Plaintiffs’ counsel objected
           21
           22                                                        Id. at 56:2-9. Plaintiffs’ counsel also
           23    (unsuccessfully) objected to examination on the gap between Mr. Kiani’s asserted
           24            and the defined scope of the alleged trade secrets. See, e.g., id. at 121:3-6
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             1         By contrast, on redirect, Plaintiffs’ counsel directed his client to answer a
             2   question about his interactions with attorneys during a patent prosecution,
             3   notwithstanding his client’s statement that he was “afraid of answering that,” because
             4   he was “getting into attorney/client privilege.” Id. at 97:14-20. Mr. Kiani’s subsequent
             5   testimony (i.e., that he is not aware of the prior art referenced by his patent prosecution
             6   attorneys) was apparently intended to advance Plaintiffs’ position on the timeliness of
             7   their suit. Apple had previously pressed Plaintiffs on their theory that they were put on
             8   notice of the alleged misappropriation through Apple’s patents that supposedly include
             9   their confidential information, and Apple had attempted to impeach Mr. Kiani’s
           10    assertion that he “first … became aware of the ’052 patent… [in] June of 2022.” Id. at
           11    78:8-20.   Mr. Kiani’s testimony on re-direct attempted to rehabilitate his prior
           12    concession on cross that he was listed as a co-inventor on a Masimo patent application
           13    filed on December 6, 2018 that cited as prior art one of the disputed Apple patents (the
           14    ‘052 patent). Id. at 82-83.
           15          D.     On The Fourth Day Of Trial, Plaintiffs’ Witnesses Repeatedly
           16                 Professed An Inability To Discuss The Alleged Trade Secrets—
           17                 Incorrectly Claiming That Was A Subject Just For Lawyers
           18          Two witnesses, relevant to the alleged technical trade secrets, testified on the
           19    fourth trial day, Mohamed Diab and Jeroen Poeze. Notably, neither of these direct
           20    examinations involved any questions about the alleged trade secrets themselves.
           21    Although both witnesses were supposedly involved in developing the information in the
           22    alleged trade secrets, neither said he could understand what they mean, repeatedly
           23    suggesting that they could testify only about their work and that the alleged trade secrets
           24    were for the lawyers. Mr. Diab, for instance, admitted that he did not connect any of his
           25    testimony about technical work to the alleged trade secrets. Apr. 7, 2023 Tr. 16-17. Mr.
           26    Diab went so far as to say, “I am not an expert nor knowledgeable about the trade secret,
           27    I did not talk about the trade secret. I do not have the ability to make that connection.”
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             1   Id. at 18:16-19. This testimony directly contradicts a sworn declaration that Mr. Diab
             2   submitted to the Court in which he quoted and discussed the alleged trade secrets, but
             3   when Mr. Diab began to testify regarding that declaration, he was instructed by his
             4   lawyer not to answer on privileged grounds. See Ex. 1 at 13-20; Apr. 7, 2023 Tr. 20-21.
             5   Mr. Poeze similarly confirmed that while he had testified about confidential work, he
             6   was “not sure how that relates to a trade secret.” Apr. 7, 2023 Tr. at 87:21-22. Mr.
             7   Poeze further testified, “I’m not sure what the trade secret is exactly.” Id. at 87:13-14.
             8                                        ARGUMENT
             9   I.    TO AVOID HAVING THEIR WITNESSES DISCUSS THE ALLEGED TRADE
           10          SECRETS, PLAINTIFFS HAVE RELIED ON BOTH SWORD/SHIELD TACTICS AND
           11          INCORRECT LEGAL PREMISES
           12          As the evidence has unfolded, the Plaintiffs have made virtually no effort to
           13    connect the hours of witness testimony and growing body of exhibits to the issues in this
           14    case—instead relying on references to undisclosed lawyer communications and
           15    incorrect characterizations of the role of lawyers in a trade secrets case.           This
           16    combination of sword/shield tactics and incorrect legal premises has prejudiced Apple
           17    and created a substantial risk of jury confusion.
           18          A.     Sword/Shield Tactics
           19          Before trial, this Court granted Plaintiffs’ motion in limine to exclude “evidence
           20    or argument about [their] attorneys’ involvement in this case, including preparing trade
           21    secret disclosures[.]” See Dkt. 1297-2 at 1 (motion); Dkt. 1439 at 8-11 (order); see also
           22    Dkt. 1371 at 2 (Plaintiffs arguing that “Apple cannot point to Masimo’s lawyers’
           23    involvement in drafting the Section 2019.210 statement to argue that the trade secrets
           24    were not possessed by Masimo before Apple’s misappropriation.”); Mar. 13, 2023 Hr’g.
           25    Tr. 38:20-21 (Plaintiffs’ counsel stating: “[T]his is why we filed the motion. I want the
           26    lawyers out of it.”).
           27
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             1            However, Plaintiffs’ lead counsel put this point directly at issue in his opening
             2   statement, revealing that the lawyers wrote Plaintiffs’ alleged trade secrets that appear
             3   in the juror notebooks. See Apr. 5, 2023 AM Tr. 50:7-11.3 Plaintiffs’ witnesses have
             4   also repeatedly put at issue Plaintiffs’ counsel’s drafting of the alleged trade secrets, and
             5   further suggested—contrary to the law—that the jurors should consider the witnesses’
             6   explanation of the alleged secrets regardless rather than the list in their notebooks.
             7            Now, having tactically provided the jury with incomplete descriptions of how
             8   their counsel drafted the alleged trade secrets, Plaintiffs have opened the door to
             9   questions regarding the nature and scope of Plaintiffs’ attorneys’ involvement. Cf. Hoist
           10    Fitness Sys., Inc. v. TuffStuff Fitness Int’l., Inc., 2019 WL 6481307, at *1 (C.D. Cal.
           11    Aug. 27, 2019) (noting that defendant “cannot refer to [plaintiffs’] products or
           12    advertisements to … rebut [plaintiff’s] lost profit arguments (unless and as necessary if
           13    [plaintiff] opens the door by referring to its products to support its lost profits theories”));
           14    Mar. 13, 2023 Hr’g. Tr. 5-6 (this Court acknowledging the “ground rules” that every
           15    motion in limine ruling is subject to reconsideration if the moving party “open[s] the
           16    door”). Plaintiffs are trying to have it both ways: relying on self-serving descriptions
           17    of their interactions with counsel when it benefits their position but blocking Apple from
           18    raising counter-arguments—or seeking additional information—about those same
           19    interactions.
           20             Simply put, Apple must be permitted to advance its theory of the case that the
           21    alleged trade secrets were fabricated for the purposes of litigation. Under the Court’s
           22    motions in limine order, Apple is permitted to question witnesses to establish that no list
           23    or written documentation of the alleged secrets existed prior to the lawsuit, but Apple is
           24
           25    3
                  Plaintiffs’ counsel later defended “[his] mentioning the lawyers” by arguing “[Apple]
           26    proposed a jury instruction where we tell the jurors where the trade secrets came from.”
                 April 6, 2023 AM Tr. 8:22-24. Not so. Apple’s proposed instructions state only that
           27    “[t]he law requires a trade secret plaintiff to provide the defendant … with a written
                 description of the alleged trade secrets being asserted[.]” See Dkt. 1500-1 19, 90.
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             1   barred from discussing the role of attorneys in creating that list. Now that Plaintiffs have
             2   repeatedly opened the door to the role their lawyers played in crafting these alleged
             3   secrets, Apple should be permitted to inquire about that role.
             4         B.     Inaccurate Statements Of Trade Secret Law
             5         Two of Plaintiffs’ trial themes rest on false characterizations of California trade
             6   secret law. First, Plaintiffs’ fact witnesses have suggested that the jury can consider
             7   misappropriation of supposed trade secrets that are in the witnesses’ heads but
             8   concededly not described by the written alleged trade secrets that appear in the jurors’
             9   notebooks. Second, Plaintiffs’ first three fact witnesses have repeatedly declined to
           10    testify about the alleged trade secrets as they have been defined throughout this
           11    litigation, asserting that because the alleged trade secrets were drafted by lawyers, only
           12    lawyers would be competent to testify about the alleged secrets’ scope and meaning.
           13    Both propositions are contrary to law. Plaintiffs’ incessant repetition of these inaccurate
           14    statements of law is prejudicial to Apple because it is plainly calculated to condition the
           15    jury to decide Plaintiffs’ CUTSA claim in a manner contrary to law.
           16                 1.     Plaintiffs’ Claim Is Confined To The Alleged Trade Secrets
           17          “A plaintiff seeking relief for misappropriation of trade secrets must identify the
           18    trade secrets and carry the burden of showing that they exist.” Imax Corp. v. Cinema
           19    Techs., Inc., 152 F.3d 1161, 1164 (9th Cir. 1998) (quotation marks omitted). Sufficient
           20    identification requires that Plaintiffs “describe the subject matter of [each alleged] trade
           21    secret with sufficient particularity to separate it from matters of general knowledge in
           22    the trade or of special knowledge of those persons … skilled in the trade.” InteliClear,
           23    LLC v. ETC Glob. Holdings, Inc., 978 F.3d 653, 658 (9th Cir. 2020). California Code
           24    of Civil Procedure section 2019.210, which implements this requirement for CUTSA
           25    litigation and which applies to this case, has several purposes. Among those purposes
           26    is that fixing the definition of a trade secret at the outset of litigation “enables defendants
           27    to form complete and well-reasoned defenses, ensuring that they need not wait until the
           28
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             1   eve of trial to effectively defend against charges of trade secret misappropriation.”
             2   Advanced Modular Sputtering, Inc. v. Superior Ct., 132 Cal. App. 4th 826, 834 (2005).
             3   And in a highly technical trial like this one, the section 2019.210 definitions must be
             4   more precise than in a simpler case: because Plaintiffs’ “trade secrets claim involves a
             5   sophisticated and highly complex … system,” no “trier of fact [c]ould … discern[]
             6   exactly which of the … system’s [aspects] were trade secrets,” and Apple “could not be
             7   expected to prepare its rebuttal to [Plaintiffs’] trade secrets claim without some concrete
             8   identification of exactly which [aspects Plaintiffs] allege[] were” misappropriated. Imax
             9   Corp., 152 F.3d at 1167.
           10           Plaintiffs’ fact witnesses have nevertheless misled the jury by suggesting that the
           11    alleged trade secrets are the work of lawyers and that the jury should consider other ideas
           12    as part of their misappropriation claim. For instance, Mr. Kiani insisted that B2, contrary
           13    to its text, embraces the concept of
           14                                                            See Apr. 6, 2023 AM Tr. 35:15-24.
           15    When confronted with the fact that B2 describes no such thing, he parried by saying that
           16
           17                                         Id. at 36:1-3. When Apple’s counsel pressed him on
           18    the fact that                                                                    Mr. Kiani
           19    inaccurately said
           20
           21
           22                    Id. at 36:1-10. Mr. Kiani did the same with B1. He argued that
           23
           24
           25
           26                                           Id. at 37:12-14. Mr. Kiani also said that the jury’s
           27    task is
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             1                                                                      Id. at 37:19-22. Shortly
             2   thereafter, when Mr. Kiani was trying to explain his contention that
             3
             4
             5
             6
             7   Id. at 54:7-56:21. When challenged about this disconnect, Mr. Kiani again
             8
             9
           10
           11                 Id. at 55:1-8.
           12          Ninth Circuit decisions applying California trade secret law squarely foreclose
           13    Mr. Kiani’s suggestion that Plaintiffs’ claims somehow encompass a broader system of
           14                           as distinct from the                                                id.
           15    at 36:1-3. Section 2019.210 provides that “Plaintiffs must ‘clearly refer to tangible trade
           16    secret material’ instead of referring to a ‘system which potentially qualifies for trade
           17    secret protection.’” InteliClear, LLC, 978 F.3d at 658. Nor can they now suggest that
           18    the words in their alleged trade secrets are “simply … ‘catchall’ phrases or … categories
           19    of trade secrets they intend to pursue at trial.” Id. (quoting Imax Corp., 152 F.3d at
           20    1167). If Plaintiffs’ position is that the words Mr. Kiani has attempted to add to their
           21    alleged trade secrets are specific examples contained in the “abstract” concepts used to
           22    describe their “system,” then those alleged trade secrets were not defined “with [the]
           23    sufficient particularity,” “concrete identification,” and “precision” required for
           24    “defendants…[,] the district court[,] or [the] trier of fact” to understand, and Plaintiffs
           25    have “fail[ed] to separate [the alleged] trade secrets from information known in the
           26    industry.” Id. at 658-659. Alternatively, if Plaintiffs’ alleged trade secrets were defined
           27    with legally “sufficient particularity” to sustain their claim, then “Plaintiff[s’] attempt to
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             1   revise [their] trade secret identification at this stage is simply too little too late.”
             2   Freeman Inv. Mgmt. Co. v. Frank Russell Co., 2016 WL 5719819, at *12 (S.D. Cal.
             3   Sept. 30, 2016).      Either way, Plaintiffs’ trial presentation is predicated on false
             4   statements of California trade secret law.
             5                2.       Fact Witnesses Are Competent To Testify About The Scope And
             6                         Meaning Of Trade Secrets
             7         Plaintiffs have also advanced a second, equally inaccurate premise: that fact
             8   witnesses are confined to testifying solely about their work in general and that only
             9   lawyers are competent to discuss the alleged trade secrets themselves. This suggestion
           10    is false. This principle has manifested in Plaintiffs’ trial presentation in two ways.
           11          First, Plaintiffs’ direct examinations have spent either no time or very little time
           12    addressing the alleged trade secrets themselves. On direct, Jeroen Poeze, one of
           13    Plaintiffs’ former engineers who supposedly developed certain alleged trade secrets,
           14    agreed that he did not spend any time discussing any of Plaintiffs’ alleged trade secrets.
           15    Apr. 7, 2023 Tr. 87:9-22. Mohammed Diab, another engineer who also supposedly
           16    developed certain alleged trade secrets, agreed that he never connected any aspect of his
           17    direct testimony to any alleged trade secret. Id. at 16:1-22. Mr. Kiani, by contrast, did
           18    discuss certain of the alleged business strategy trade secrets in his direct testimony but
           19    only about half an hour of the two-hour-thirty-nine-minute direct examination
           20    specifically concerned the alleged trade secrets.       Apr. 5, 2023 PM Tr. 92:5-18.
           21    Furthermore, he improperly used his testimony to try to recast the scope of the alleged
           22    business trade secrets, and to encourage the jury not to hew strictly to the actual language
           23    in their notebooks.
           24          Second, Plaintiffs’ witnesses have repeatedly suggested, falsely, that only lawyers
           25    are competent to discuss scope and meaning of the alleged trade secrets. Mr. Diab, for
           26    instance, testified that he “do[es] not know the trade secrets themselves [sic] and what
           27    they mean.” Apr. 7, 2023 Tr. 19:12-13. Instead, Mr. Diab asserted that he is “here to
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             1   testify about the work we have done at Masimo and who was involved in the work that
             2   was done at Masimo.” Id. at 17:1-6. He punted to “the Court” the job of “explain[ing]
             3   to the jury” any “ramification” of his testimony for the alleged trade secrets. Id.
             4   Similarly, in testifying about his experiences with Dr. Lamego, Mr. Diab said he did not
             5   link any of his testimony to any specific L or D alleged trade secrets because he “do[es]
             6   not know those trade secrets,” and he “explained what was the work that was done, what
             7   was the implication of that work, and how it is linked to our confidential information.”
             8   Id. at 18:12-15. Indeed, Mr. Diab conceded that he “do[es] not remember reading the
             9   list of the trade secrets,” noting (before he was cut off by a privilege objection and
           10    instruction) that the “only time I remember something close to that is when I did the
           11    declaration in this case and our patent attorney explained to me for each one of those
           12    trade secrets ---.” Id. at 20:20-21:3.4 That was an apparent reference to the sworn
           13    declaration that Mr. Diab’s trial testimony flatly contradicted.
           14             Plaintiffs’ suggestion that the alleged trade secrets are technicalities for the
           15    lawyers is wrong and calculated to mislead the jury not to apply the evidence to the
           16    particular claims in this case.       On a fundamental level, the section 2019.210
           17    identifications are supposed to be written with sufficient particularity to distinguish the
           18    alleged trade secrets from matters already known in the field. See Imax Corp., 152 F.3d
           19    at 1164-1165. Nor are non-lawyer fact witnesses incompetent to testify about the alleged
           20    trade secrets merely because they were drafted by lawyers; patents likewise are often
           21    products of legal drafting, and fact witnesses—particularly alleged inventors—are
           22    competent to testify about the specific claims and assertions in the patent. See, e.g.,
           23    Brown v. Barbacid, 276 F.3d 1327, 1335 (Fed. Cir. 2002) (discussing oral testimony of
           24
           25    4
                   Plaintiffs’ counsel similarly elicited testimony suggesting that fact witnesses are not
           26    competent to discuss issues of inventorship. See, e.g., Apr. 7, 2023 Tr. 50:21-52:14.
                 But an alleged co-inventor’s testimony is obviously admissible to prove facts concerning
           27    the inventorship claim. See, e.g., Ruling Meng v. Ching-Wu Paul Chu, 643 F. App’x
                 990, 994 (Fed. Cir. 2016) (discussing use of alleged inventor’s testimony).
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             1   an alleged inventor to prove his conception or reduction to practice). And as the Court
             2   already held, “if a trade secret plaintiff does not know what its own trade secrets are, it
             3   has no basis for suggesting defendants misappropriated them.” Dkt. 669 at 3; see also
             4   Freeman Inv. Mgmt. Co., 2016 WL 5719819, at *11 (“If Plaintiff does not know
             5   precisely what its trade secrets are, neither can Defendant or the Court.”).5      Plaintiffs’
             6   misappropriation claim is not about, as Mr. Diab suggested, Plaintiffs’ generalized
             7   “confidential information.” Apr. 7, 2023 Tr. at 18:12-15.
             8                  3.     Plaintiffs’ Inaccurate Suggestions Of Law Require A Curative
             9                        Instruction
           10             Plaintiffs’ misappropriation claim concerns only those alleged trade secrets that
           11    were timely identified, and the Court long ago warned Plaintiffs not to employ a
           12    “strategy” (even if portrayed as an “accident”) “to alter its list of trade secret claims”
           13    later in the case. Dkt. 669 at 3. Plaintiffs cannot now suggest, either expressly or
           14    implicitly, that their claim is unbound to the alleged trade secrets or that the alleged trade
           15    secrets are mere technicalities only for the lawyers. Apple will be severely prejudiced
           16    if these false implications go uncorrected, because it will raise the risk that the jury’s
           17    verdict is not confined to the alleged trade secrets actually at issue in the trial.
           18    Accordingly, Apple respectfully requests the following curative instruction:
           19                   You have heard testimony that Plaintiffs’ lawyers were involved
           20                   in drafting the alleged trade secrets that appear in your juror
                                notebooks. The list in your notebooks forms the basis of
           21                   Plaintiffs’ trade secret claims. However, a non-lawyer witness,
           22                   such as an engineer, who possesses personal knowledge of an
                                alleged trade secret is competent to testify about the alleged
           23                   trade secret’s scope and meaning. If a witness asserts that he or
           24
           25    5
                   The parties’ proposed jury instructions both would require Plaintiffs to prove “either
           26    that they developed the alleged trade secret[]s or otherwise were in lawful possession of
                 it” to establish the first, possession element of their claim. Dkt. 1500-1 at 89; see also
           27    id. at 78. A failure of proof likely exists if Mssrs. Diab and Poeze, the supposed
                 developers of some alleged trade secrets, cannot even recognize or understand them.
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             1                she could not discuss an alleged trade secret because he or she is
             2                not a lawyer, that assertion is not correct.

             3   While such a curative instruction would help mitigate the prejudice to Apple, the

             4   problems created by these aspects of Plaintiffs’ trial presentation run deeper. Although

             5   Plaintiffs’ case remains open, Apple believes that there have already been incurable

             6   failures of proof on several elements of Plaintiffs claims. Apple accordingly intends to

             7   reraise these and related issues in its Rule 50(a) motion at the appropriate time.

             8   II.   MR. KIANI’S SELECTIVE DISCLOSURES OF ATTORNEY-CLIENT

             9         COMMUNICATIONS CONSTITUTE SUBJECT-MATTER WAIVERS OF PRIVILEGE

           10          RELATED TO THE INITIATION OF THIS LAWSUIT

           11          Mr. Kiani repeatedly, selectively, and voluntarily testified on direct, cross, and re-

           12    direct about his communications with counsel concerning both the definition of the

           13    alleged trade secrets and his supposed discovery of Apple’s alleged misappropriation

           14    and reliance on his lawyers as the precipitating cause of this lawsuit.

           15          A.     Mr. Kiani’s Selective Disclosure Of Attorney-Client Communications

           16                 Constitutes Subject-Matter Waiver

           17          The Ninth Circuit has repeatedly explained that the “principal purpose” of the

           18    doctrine of subject matter waiver “is to protect against the unfairness that would result

           19    from a privilege holder selectively disclosing privileged communications to an

           20    adversary, revealing those that support the cause while claiming the shelter of the

           21    privilege to avoid disclosing those that are less favorable.” Tennenbaum v. Deloitte &

           22    Touche, 77 F.3d 337, 340-41 (9th Cir. 1996). “The Federal Rules of Evidence govern

           23    the scope of waiver even if state law provides the rule of decision,” and the scope of

           24    “[s]ubject matter waiver is governed by Federal Rule of Evidence 502.” Madrigal v.

           25    Allstate Indem. Co., 2015 WL 12748277, at *5 (C.D. Cal. Nov. 5, 2015) (quotation

           26    marks and citation omitted). Following a “disclosure … made in a federal proceeding,”

           27    a subject-matter “waiver extends to an undisclosed communication or information …

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             1   if … (1) the waiver is intentional; (2) the disclosed and undisclosed communications or
             2   information concern the same subject matter; and (3) they ought in fairness to be
             3   considered together.” Fed. R. Evid. 502(a). Applying this test, this Court should find
             4   subject-matter waiver as to communications with counsel about Plaintiffs’ discovery and
             5   investigation of disputed Apple patents.
             6         In particular, Mr. Kiani testified that he—and by extension, Plaintiffs—first
             7   discovered the alleged misappropriation through communications with counsel about
             8   certain Apple patents that Plaintiffs contend disclosed their alleged trade secrets. See
             9   Apr. 5, 2023 PM Tr. 50-51. The import of this testimony is clear: (1) Mr. Kiani did not
           10    know any facts that led him to suspect the misappropriation of Plaintiffs’ alleged trade
           11    secrets until he learned of the Apple patents in 2019, and (2) after Mr. Kiani asked
           12    Plaintiffs’ counsel to investigate and to advise whether Plaintiffs had a viable claim
           13    against Apple based on the information in those patents, Plaintiffs’ trial counsel Mr.
           14    Jensen advised they did.         Plaintiffs’ selective disclosure of these privileged
           15    communications are clearly intended to bolster their assertion that the limitations period
           16    began running when Mr. Kiani claims to have learned about the issuance of Apple’s
           17    patents. Indeed, Plaintiffs’ opening treated the incident as the time when they were on
           18    notice of the alleged misappropriation, for statute of limitations purposes. See, e.g., Apr.
           19    5, 2023 AM Tr. 52:3-7 (“But it wasn’t until October of 2019 that Masimo saw some of
           20    these patents beginning to issue, and Mr. Kiani will explain it was in October of 2019
           21    when he saw the patent issue.”); Ex. 2, PDX1-52 (opening statement demonstrative with
           22    a timeline that highlights “October 2019 – Masimo sees issued Apple patents”).
           23          Moreover, to the extent Plaintiffs argue that Mr. Kiani did not expressly disclose
           24    the substance of Mr. Jensen’s communication, “[e]ven when a party does not explicitly
           25    disclose the content of an attorney-client communication, he may waive the privilege
           26    implicitly.” United States v. Ortland, 109 F.3d 539, 543 (9th Cir. 1997) (citing Weil v.
           27    Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 24 (9th Cir. 1981); Natural-
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             1   Immunogenics Corp. v. Newport Trial Grp., 2018 WL 6138160, at *5 (C.D. Cal. Jan.
             2   24, 2018) (Selna, J.) (holding that a party had “impliedly waived the attorney-client
             3   privilege because they have placed the information supporting those defenses at issue”).
             4   Here, the content of Mr. Jensen’s advice (that Plaintiffs had a viable misappropriation
             5   claim against Apple) is both readily apparent from context and a critical piece of
             6   evidence to Plaintiffs’ response to Apple’s statute of limitations defense. Nor does it
             7   matter whether Plaintiffs had the “subjective intent” to waive privilege, because
             8   “‘inadvertence’ of disclosure does not as a matter of law prevent the occurrence of
             9   waiver.” Weil, 647 F.2d at 24.
           10          B.     Plaintiffs’ Late-Breaking Subject-Matter Waiver Has Prejudiced
           11                 Apple
           12          Plaintiffs’ selective disclosures of attorney-client communications for the first
           13    time after trial has begun comes as a surprise. In discovery, Plaintiffs asserted privilege
           14    over these same communications upon which they have now relied, preventing Apple
           15    from discovering information that has now become highly relevant to the factual
           16    disputes at trial. For instance, in response to Apple’s Interrogatory No. 23, which
           17    sought, inter alia, “the circumstances and dates relating to [Plaintiffs’] first awareness
           18    of each of the Apple Patents,” Plaintiffs invoked privilege to avoid providing a detailed
           19    response to Apple’s interrogatory asking about Plaintiffs’ discovery of the disputed
           20    patents. Dkt. 580 at 8-9. The Special Master subsequently denied Apple’s motion to
           21    compel additional detail. Id. Moreover, at the motion in limine stage, Plaintiffs
           22    successfully moved to exclude any reference to their counsel having drafted the alleged
           23    trade secrets, even though at trial Mr. Kiani sought to shift responsibility to his attorneys
           24    for the overbreadth of the alleged trade secrets. See supra pp. 7, 12-13.
           25          Mr. Kiani has now left the stand, having wielded Plaintiffs’ attorney advice as a
           26    sword, while simultaneously shielding from Apple the facts and circumstances
           27    surrounding that advice. But Plaintiffs “cannot be allowed, after disclosing as much as
           28
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             1   [they] please[], to withhold the remainder.” Weil, 647 F.2d at 24. Accordingly, the
             2   “fairness principle” of “preventing [Plaintiffs] from using the privilege as both a shield
             3   and a sword” requires the Court to hold that Mr. Kiani’s testimony “constitutes waiver
             4   of the privilege as to all other such communications on the same subject[s].” United
             5   States v. Sanmina Corp., 968 F.3d 1107, 1116-17 (9th Cir. 2020) (quoting Weil, 647
             6   F.2d at 24).
             7            C.    At A Minimum, Apple Should Be Entitled To Plaintiffs’ Relevant
             8                  Attorney Communications And Another Opportunity To Cross-
             9                  Examine Mr. Kiani
           10             Given that trial is already in progress, Apple submits that it is entitled to
           11    immediate remedies. Plaintiffs should be ordered to immediately disclose documents
           12    falling within the scope of their selective waiver that were previously withheld on
           13    privilege grounds. The Ninth Circuit has made clear that when a party’s defense is
           14    “based on the advice of its attorneys, [the opposing party] should have had access to []
           15    otherwise privileged attorney-client communications.” Kaiser Found. Health Plan, Inc.
           16    v. Abbott Lab'ys, Inc., 552 F.3d 1033, 1042-43 (9th Cir. 2009). “[I]t would be unfair to
           17    allow [Plaintiffs] to present new evidence in support of [their position that triggers a
           18    subject-matter privilege waiver] when [they have] prevented [Apple] from
           19    discovering … information regarding relevant attorney-client communications.” Vital
           20    Pharms. v. PhD Mktg., Inc., 2022 WL 2284544, at *2-3 (C.D. Cal. Apr. 15, 2022). And
           21    to have any hope of mitigating Apple’s prejudice, any such disclosure must come in time
           22    for Apple to use the documents to conduct a supplemental cross-examination of Mr.
           23    Kiani.
           24             Should Plaintiffs fail to produce all documents falling within the scope of the
           25    waiver in time for Apple to use these materials at trial the Court should instruct the jury
           26    to disregard any of Plaintiffs’ evidence or argument—including Mr. Kiani’s testimony—
           27    about the issues within the scope of any subject-matter waiver. The Ninth Circuit has
           28
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             1   confirmed that where a party sought to advance at trial a theory that depends on
             2   testimony about “the advice of his attorney, while at the same time refusing to answer
             3   questions regarding [the] relevant communications with counsel until the ‘eleventh
             4   hour,’ … the district court [i]s within its discretion in precluding [the party] from
             5   invoking” that theory.      Columbia Pictures Television, Inc. v. Krypton Broad. of
             6   Birmingham, Inc., 259 F.3d 1186, 1196 (9th Cir. 2001). The usual remedy “where the
             7   party claiming privilege during discovery wants to testify at the time of trial” is to “ban
             8   that party from testifying on the matters claimed to be privileged.” Id. (quoting William
             9   A. Schwarzer, et al., Federal Civil Procedure Before Trial, ¶ 11:37 at 11-29 (2000)); see
           10    also Vital Pharms., 2022 WL 2284544, at *3 (“Given the imminent trial date, the Court
           11    finds it necessary to preclude Defendant from presenting new evidence related to its
           12    advice of counsel defense rather than allowing further discovery.”). But since Mr. Kiani
           13    has already testified, and Plaintiffs relied on privilege as a sword and a shield, this Court
           14    may “fashion remedies to prevent surprise and unfairness to the party seeking
           15    discovery.” Columbia Pictures Television, Inc., 259 F.3d at 1196.6
           16                                         CONCLUSION
           17             Given the manifest prejudice from Plaintiffs’ trial conduct detailed above, Apple
           18    respectfully requests the remedies set out above—and any other appropriate relief
           19    fashioned by the Court.
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           27     Apple reserves the right to propose additional limiting instructions should its prejudice
                 remain unaddressed at the time of the charge conference.
           28
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             1   Dated: April 8, 2023                Respectfully submitted,
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             1                          CERTIFICATE OF COMPLIANCE
             2         The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3   brief contains 6,860 words, which:
             4         X complies with the word limit of L.R. 11-6.1.
             5            complies with the word limit set by court order dated [date].
             6
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